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      AO 245B-CAED(Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                   UNITED STATES DISTRICT COURT
                                                      Eastern District of California
                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                                                    (For Revocation of Probation or Supervised Release)
                                 v.                                                 (For Offenses Committed On or After November 1, 1987)
                        DAMION E EDGERSON
                                                                                    Criminal Number: 2:11CR00216-03
                                                                                    Defendant's Attorney: Erin Radekin, Appointed
      THE DEFENDANT:
             admitted guilt to violation of charge 4 as alleged in the violation petition filed on 7/30/2015 .
             was found in violation of condition(s) of supervision as to charge(s)    after denial of guilt, as alleged in the violation petition
             filed on   .

      ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation:
      Violation Number           Nature of Violation                                                  Date Violation Occurred
       4                                    Unauthorized Travel                                                        07/29/2015

       The court:       revokes:        modifies:        continues under same conditions of supervision heretofore ordered on 2/7/2013 .

             The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to the
      Sentencing Reform Act of 1984.

             Charge     1, 2, and 3 are dismissed.

              Any previously imposed criminal monetary penalties that remain unpaid shall remail in effect.

               IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
       change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
       fully paid.
                                                                                   11/20/2015
                                                                                   Date of Imposition of Sentence




                                                                                   Signature of Judicial Officer
                                                                                   Morrison C. England, Jr., United States District Judge
                                                                                   Name & Title of Judicial Officer
                                                                                   1/6/2016
                                                                                   Date




http://apps.caed.circ9.dcn/CIRUser/Desktop/snapshot.aspx?redirect=judgment&tab=tpMonetaryPenalties                                              1/6/2016
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      AO 245B-CAED(Rev. 09/2011) Sheet 2 - Imprisonment
      DEFENDANT:DAMION E EDGERSON                                                                                                     Page 2 of 2
      CASE NUMBER:2:11CR00216-03

                                                                IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
      13 months.

            No TSR: Defendant shall cooperate in the collection of DNA.

            The Court makes the following recommendations to the Bureau of Prisons:

            The defendant is remanded to the custody of the United States Marshal.

             The defendant shall surrender to the United States Marshal for this district
                    at     on     .
                    as notified by the United States Marshal.

             The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                     before       on    .
                     as notified by the United States Marshal.
                     as notified by the Probation or Pretrial Services Officer.
             If no such institution has been designated, to the United States Marshal for this district.

                                                                      RETURN
      I have executed this judgment as follows:




              Defendant delivered on                                                       to
      at                                                  , with a certified copy of this judgment.



                                                                             United States Marshal


                                                                             By Deputy United States Marshal




http://apps.caed.circ9.dcn/CIRUser/Desktop/snapshot.aspx?redirect=judgment&tab=tpMonetaryPenalties                                            1/6/2016
